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                        EXHIBIT B
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     1          This application is made pursuant to California Rules ofCourt Rules 3.1150 and 3.1200, et
  2      seq. This application will be based upon the Memorandum of Points and Authorities submitted
  3      herewith, attached exhibits, the complete files and records inthis action, the declaration ofMichelle
  4      Eshaghian ("Eshaghian Decl."), the declaration of Maurice D. Pessah ("Pessah Decl."), the
  5      declaration ofJonathan Cohn ("Cohn Decl."), the declaration ofSammy Courtright ("Courtright
  6      Decl") well as any further oral and documentary evidence which may be presented at the hearing.
  7             Consistent with the mandates of California Rules of Court rule 3.1203 and 3.1204.
  8      counsel for Plaintiff provided adequate notice to Defendant of this ex parte application.
  9      (Declaration of Michelle Eshaghian ["Eshaghian Decl."l ff 2-5^.

 10      Dated: August 14,2015                       Respectfully submitted,
 11
                                                     PESSAH LAW GROUP, PC
 12

 13

 14
                                                         Maimed. Pessah, Esq.
 15
                                                         Michelle Eshaghian, Esq.
                                                         Attorneys for Plaintiff
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                  FITSPOT ventures, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
          ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION; MEMORANDUM OF
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                             MEMORANDUM OF POINTS AND AUTHORITIES
       I.   INTRODUCTION

             Pursuant to California Code of Civil Procedure Section 527, Plaintiff FITSPOT
      VENTURES, LLC ("FITSPOT" or the "Company") seeks: (1) atemporary restraining order; and
      (2) an order to show case for apreliminary injunction. The current circumstances are dyer. Plaintiffs
     business (described below) has become essentially inoperable to its owners as aresult ofDefendant
      Solomon Bier's misappropriation ofPlaintiffs trade secrets. Defendant now has exclusive control
     ofPlaintiffscustomer database, technical data and financial information, making the operability of
     the business nearly impossible.

            STATEMENT OF FACTS IN SUPPORT OF INJUNCTIVF. RFT IFF
                A.       FITSPOT's Business

            Plaintiffis the creator of"Fitspot," adownloadable mobile application that provides its users
     with on-demand access to fitness trainers and classes (the "App"). (Declaration ofJonathan Cohn
     ["Cohn Decl."] T| 3)
                 C   .




            Upon downloading the App, customers submit their personal contact and health information
     through the App's interface. (Cohn Decl. ^ 3) That information is then used to optimize the
     customer s experience, both in terms ofbest training options and so that fitness professionals can
    present themselves at acustomer's training location of choice. (Cohn. Decl. f 3) Like the App's

      ORDF?
      ORDER, AND (2) AN ORDER TO SHOW CASE RE:application
                                               PRELIMINARYFOR: (1) ATEMPORARY
                                                            INJUNCTION;       RESTRAINING
                                                                        MEMORANDUM   OF
                               POINTS AND AUTHORITIES IN SUPPORT THEREOF
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          1    customers, fitness professionals also provide their personal information through the App's interface.
          2    (Cohn. Decl. If 3) In turn, the trainers are paid through the App for each session that is booked, and
          3    the App takes a small fee for each transaction. (Cohn. Decl. f 3)
          4           An integral component ofthe App's appeal is the ability to connect customers to fitness
      5       professionals instantaneously. (Cohn. Decl. K4) Once a customer electronically books a session
      6       with atrainer, the trainer immediately receives an "alert" notifying him/her ofthe customer's name,
      7       location, desired workout (i.e., yoga or boxing), and appointment time. (Cohn Decl. 14) The fitness
      8       professional has the option to accept or reject the client's request. (Cohn Decl. f 4)
      9               Like all computer-based technologies ofits kind, the App's functionality is powered by aset
     10       of underlying programming instructions, or code, that allow the App to deliver on its promise and
     11       serve its intended purpose-delivering health and fitness. (Cohn Decl. t 5) When the above-
s!
c    12       described process is anything but efficient, seamless and reliable, customers complain, cancel
D

i    13       subscriptions and/or request refunds. (Cohn Decl. %5) Thus, the Company's ability to modify the
<
     14       underlying code when "glitches" or "bugs" are detected in the App is crucial. (Cohn Decl. f 5)
E    15
<                       B.    Defendant BIER Had Access to ConfidentiaL Proprietarv and Trade Secret
     16                       Information in His Role as Coding Engineer

     17                           !•    Bier*s Contractual Obligations To the Company
     18              Defendant, SOLOMON BIER ("BIER"), was invited to join the Company as a coding
     19       engineer and held the title of "Technical Co-Founder." (Cohn Decl. t X6) As is typical for early
     20       stage development companies, or "startups," BIER's services were rendered inconsideration for an
     21       equity stake in the Company. BIER's equity stake in the Company was governed by a"Founder's
     22       Restricted Unit Agreement" (the "RU Agreement"), pursuant to which BIER was issued "Class B
     23       common units ofthe Company" on aspecified vesting schedule (Exh. Ato Cohn Decl. If 6is atrue
     24       and correct copy ofthe RU Agreement.) Concurrently with his execution ofthe RU Agreement, and
     25       as a condition to his engagement with the Company, Defendant also entered into and executed a
     26       "Confidentiality and Intellectual Property Assignment Agreement," (the "Confidentiality
     27       Agreement"). (Exh. Bto the Cohn Decl. f 7 is a true and correct copy of the Confidentiality
     28
                                                               2
                                                              application FOR: (1) A TEMPORARY RESTRAINING
               ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION; MEMORANDUM OF
                                       POINTS AND AUTHORITIES IN SUPPORT THEREOF
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  1    Agreement.) Both the RU Agreement and the Confidentiality Agreement were fully negotiated
  2    and vetted by the parties. (Exh. Cto Cohn Decl. ^ 7) The Agreement specifies, inter alia, that any
  3    intellectual property, passwords, marketing strategies, files, certificates, passwords and other
  4    computer information would be the exclusive property of the Company. (Exh. B, Sec. 2 to Cohn
  5    Decl. 17) The Agreement further states that "Confidential Information," was to be "the exclusive
  6    property of [FITSPOT]." (See Exh. B to Cohn Decl., Sec. 1, sub. (a)) Confidential Information is
  7    defined, among other things, as "files, keys, certificates, passwords and other computer
  8    information[.]" (Id.) Importantly, Defendant also agreed to "cooperate with [FITSPOT] and use
  9    [his] best efforts to prevent the unauthorized disclosure of Confidential Information." (Exh. B to
 10    Cohn Decl., Sec. 1, sub (b)).
 11           Defendant also made the following acknowledgement:
 12
              I acknowledge that all work performed by me is on a "work for hire" basis, and I
 13           hereby do assign andtransfer and, to theextent anysuch assignment cannot bemade
              at present, will assign and transfer, to the Company and its successors and assigns
 14           all my right, title and interest in all Developments that (a) relate to the business of
              the Company orany customer ofor supplier to the Company orany ofthe products
15            or services being researched, developed, manufactured or sold by the Company or
16
              which may be used with such products orservices; (b) result firom tasks assigned to
              me by the Company; or (c) result fi*om the use of premises or personal property
17            (whether tangible or intangible) owned, leased or contracted for by the Company
              (collectively, "Company-Related Developments"), and all related patents, patent
18            applications, trademarks and trademark applications, copyrights and copyright
              applications, and other intellectual property rights in all countries and territories
19            worldwide and under any international conventions ("Intellectual Property Rights")
20     (Exh. B to Cohn Decl., Sec. 2, sub. (a))
21    Underthe Agreement, "Developments" is defined as follows:
22
              [a]ll inventions, discoveries, designs, developments, methods, modifications,
23            improvements, processes, algorithms, mask works, databases, computer programs,
              formulae, techniques, trade secrets, graphics or images, and audio or visual works
24            and other works of authorship[.]
25    Critically, Defendant agreed to "cooperate fully" with Plaintiff"both during and after [his] Service
26    Relationship with the Company with respect tothe procurement, maintenance and enforcement of
27

28
      PLAINTIFF FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
        ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION: MEMORANDUM OF
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  1    Intellectual Property Rights in Company-Related Developments." (Exh. Bto Cohn Decl. 17, Sec.
  2    3) Defendant expressly agreed:
  3
              I will sign, both during and after the term of this Agreement, all papers, including
  4           without limitation copyright applications, patent applications, declarations, oaths,
              assignments or priority rights, and powers ofattorney, which the Company may
  5           deem necessary or desirable in order to protect its rights and interests in any
              Company-Related Development.
  6
       (Exh. B to Cohn Decl. ^ 7, Sec. 3)
  7

  8
                          2.    BIER's Access To Plaintifrs Confidential and Proprietarv Trade
                                Secrets and Data
  9
              Discharging his duties under both the RU Agreement and the Confidentiality Agreement
 10
       (collectively, the "Agreements"), and with the input ofthe Company's CEO, Jonathan Cohn, BIER
 11
       began developing and writing the "code" that allows the App to function. (Cohn Decl. If 8) In
 12
       computer programming, "code" is a term used to refer to statements written in a particular
13
       programming language, which automate the performance of specific tasks. See
 14
       https://en.wikiDedia.org/wiki/Source code (last visited August 13, 2015). In order to execute his
15
       duties, BIER was provided with a Company issued laptop, monitor, keyboard and mouse, all of
16
       which were purchased by the Company. (Cohn Decl. 18)
17
              In developing the code for the App, BIER relied on subscription-based "cloud platforms" to
18
       house the underlying source code, and test the functionality ofthe App both prior, and subsequent
19
       to its release. (Cohn Decl. ^9) Defendant, while acting within the scope ofthe Agreements, created
20
       accounts with at least two such providers: (1) Heroku; and (2) Github. (Cohn Decl. If 9) On May 4,
21
       2015, Defendant, using his "@fitspotapp.com" email address, sent anemail to CEO Jonathan Cohn
22
      explaining the work he had performed on the App using Plaintiffs Heroku account. (Exh. D, page
23
      2, Cohn Decl. 19) In the final paragraph of his email he invites CEO Cohn to view and access the
24
      "development version" and the "production version" ofthe App by directing Cohn to two (2) URL
25
      hyperlinks inside the Heroku account. {Id.)
26
              Github is afi-ee service, Heroku is not. All expenses associated with maintflining the Heroku
27
      account were at all times and continue to be paid for by Plaintiff (Exh. Eto Cohn Decl. f 9are true
28
      PLAINTIFF FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
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  1    and correct copies of statements from FITSPOT's credit card account. Heroku charges are
  2    highlighted in yellow for the Court's convenience) Plaintiffs customer data, proprietary code and
  3    App data is all stored in Github and Heroku. (Cohn Decl. ^ 9) Access to the Github and Heroku
  4    accounts that store the code and other sensitive data cannot be overstated: it is absolutely essential
  5    and the Company cannot properly function without it. (Cohn Decl. 19)
  6           Inaddition to using Heroku and Github to store its data, the Company uses another digital
  7    platform known as Slack. (Cohn Decl. If 11) Slack is a collaboration tool that facilitates
  8    communication between the code repositories - Github and Heroku - and the Company. (Cohn
  9    Decl. til) For example, when a user books a fitness session with a trainer, the Slack platform
 10    receives data from Heroku and sends an alert to the Company. (Cohn Decl. f 11) This allows the
 11    Company to track the amoimt ofbookings it receives and monitor the App's usage. Further, Slack
 12    generates automatic notices to the Company if any of the underlying code is modified or altered.
 13    (Cohn Decl. 111) Ifthe Heroku and Github accounts are not integrated with Slack, the Company
14     cannot be made aware of modifications to the code or bookings from users. On August 6, 2015,
15     Defendant BIER accessed Plaintiffs Heroku account and intentionally disabled communication
16     between PlaintiffsHeroku and Slack accounts. Asa result, since thatdate, Plaintififhas been unable
17     to determine when one of its customers books a training session through the App. (Exh. F to Cohn
18     Decl. til)

19
                 C.   Defendant BIER's has Misappropriated FITSPOT's Proprietary.
20                    Confidential and Trade Secret Informatiop. and Usurped Control of
                      FITSPOT's Heroku and Github Accounts
21
              On August 5, 2015, Mr. Jonathan Cohn, FITSPOT's CEO, terminated Defendant's
22
      relationship with the company. (Cohn Decl. 112) Mr. Cohn's action was ratified by the Company's
23
      Board ofDirectors. (Exh. Gto Cohn Decl. 112) Mr. Cohn requested the return ofthe Company's
24
      tangible and intangible property, including but not limited to, the Company's laptop and other
25
      hardware. Plaintiffscode, consumer data, access credentials to the repositories that house the App's
26
      code, and access credentials to all other accounts used by Defendant to discharge his duties. (Cohn
27
      Decl. 112) Originally, Defendant agreed to comply with this request. (Cohn Decl. 112) However,
28                                                      5
      PLAINTIFF FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
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  1    Defendant ultimately refused to return any of the above, began changing the passwords to the
  2    Heroku and Github accounts, disabled integration between the code repositories and Slack, and
  3    become unresponsive to all of the Company's communications. (Cohn Decl. Tf 13) As a result.
  4    Plaintiff was entirely deprived of its ability to manage its business: unable to determine if and
  5    when users were booking training sessions, unable to pay trainers, unable to repair glitches in
  6    the code, unable to modify anj; component of the App, unable to access its customer
  7    information and completely deprived of its ability to access to its own data, trade secrets and
  8    inteUectual property. (Cohn Decl. 113); {see also, Courtright Decl. 13) Moreover, since BIER's
  9    nefarious and unlawful actions, many users have: (1) been unable to book sessions (Cohn Decl. t
 10    14) (Exh. Ato Courtright Decl. 14); (2) ceased using the App and requested refimds (Cohn Decl. f
 11    14) (Exh. Bto Courtright Decl. Tf 4); (3) expressed dissatisfaction over the App's failure to properly
 12    function. (Cohn Decl. 14) (Exh. Cto Courtright Decl. Tf 4).
 13           Defendant has retained counsel and, on August 11, 2015, finally returned the Company's
 14    laptop, monitor, monitor, keyboard and mouse. (Pessah Decl. 2) However, as Bier's counsel has
 15    conceded, Bier "wiped" the hard drive ofthe laptop, completely erasing any and all data that was
 16    once stored therein. (Exh. A to Pessah Decl. ^ 2) This was done despite clear and unambiguous
 17    requests from Plaintiff's counsel to leave the data onthe laptop completely unaltered. (Pessah Decl.
 18    If 2) Defendant's counsel avers that all ofthe data once stored on the laptop was placed unto ahard
 19    drive inDefendant's possession. (Exh. Ato Pessah Decl. If 2)
 20           To add insult to injury. Defendant has also refused to return a company-issued credit card
 21   that he was given for expenses. (Cohn. Decl. If 15) Alarmingly, the credit card, which bears both the
 22    name Fitspot and BIER, carmot be cancelled without further disrupting the Company's business and
 23   customer experience. (Cohn. Decl. If 15) The credit card information is embedded into the source
 24   code that allows customers to use promotional codes for the purpose ofbooking free sessions. (Cohn
 25   Decl. ^ 15) Each time a free session is booked by a newly acquired customer, the Fitspot's credit
 26   card is charged. (Cohn Decl. f 15) Cancelling the card currently in BIER's possession, would
 27   eliminate the possibility ofallowing customers to benefit from free promotional sessions, thereby
 28                                                     6
      PLAINTIFF FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
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  1    crippling yet another element ofFITSPOT's customer experience. (Cohn Decl. If 15) Without access
  2    the Heroku account, new credit card information is useless, asit cannot beadded to the source code
  3    that facilitates the bookmg ofpromotional sessions charged to the card in BIER's possession. (Cohn
  4    Decl 115) It cannot be accessed because BIER has changed the password ofFITSPOT's Heroku
  5    account.


  6           Although Plaintiff has demanded that Defendant return FITSPOT's property and sensitive
  7    data, he refuses. (Cohn Decl. 115) On August 7,2015, Sammy Courtright, FITSPOT's Director of
  8    Operations, reported BIER's actions to the Los Angeles Police Department (LAPD). (Exh. D to
  9    Courtright Decl. If 5)
 10           Plaintiffs counsel has made multiple requests upon Defendant's to have the Company's
 11    tangible and intangible property returned. (Pessah Decl. If 3) Defendant's counsel has refused, and,
 12    during a phone call, stated that Defendant would require a $50,000 "cash payment" before any
 13    property could be returned. (Pessah Decl. If 3)Now, credible information suggests that Defendant
 14    is working for another tech company, Honk.com, adownloadable mobile application that provides
 15    on-demand service. (Cohn Decl. If 16) While Honk's business is imrelated to fitness. Honk may
 16    benefit from the on-demand and real time functions of the source code that Defendant developed
 17    for Plaintiff. Such code takes many months todevelop. (Cohn Decl. f 16)
 18   III.   ARGUMENT

 19                    Standard for Preliminary Iniunctive Relief andTemporarv Restraininyy OrHgr
 20           Preliminary injunctive relief should be issued ifthe plaintiff shows that: (1) it is likely that
 21    it will prevail on the merits ofits claims; and (2) balance ofharm suffered by the plaintiff ifthe
 22    injunction is not issued will be greater than the harm the defendant will suffer ifthe injunction is
 23   issued. Common Cause of California v. Board ofSupervisors (1989) 49 Cal. 3d 432, 441-442.
 24   Moreover, Plaintiff must show a likelihood ofgreat or irreparable injury before the issuance ofa
 25   temporary restraining order. Id. Injunctions in the area oftrade secrets are governed by the principles
 26   applicable to injunctions in general. Whytev. Schlage Lock Co. (2002) 101 Cal.App.4th 1443,1449;
 27

 28
      PLAINTIFF FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (I)ATEMPORARY RESTRAINING
        ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION; MEMORANDUM OF
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      1        a&o Hilb, Rogal &Hamilton Ins. Services v. Robb (1995) 33 Cal.App.4th 1812, 1820. As set
  2        forth below, Fitspot satisfies these requirements.
  3                  B.    FITSPOT is Likely to Prevail on the Merits of its riaims
  4                            1.        MisapproDriation of Trade Secrets

  5                The California Uniform Trade Secrets Act ("CUTSA"), defines "trade secret" as
  6        information, including formula, pattem, compilation, program, device, method, technique, or
  7        process that: (1) derives independent economic value, actual or potential, fi:om not being generally
  8        known to the public or to other persons who can obtain economic value firom its disclosure or use;
  9        and (2) Is the subject ofefforts that are reasonable under the circumstances to maintain its secrecy.
 10        Cal. Civ. Code 3426.1(d).
 11               The damage inflicted through a trade secret's loss and improper use or disclosure to a
 12        competitor, can never be undone. For this reason, Cal. Civ. Code 3426.2(a) specifically provides for
 13        the injunction ofactual or threatened misappropriation. Whyte v. Schlage Lock Co. (2002) 101
 14        Cal.App.4th 1443, 1452. Because of its obvious value and because of Fitspot's reasonable
 15        efforts to maintain itssecrecy, there should beno question that Plaintiff's codes andcustomer
 16        data are trade secret information. See Silvaco Data Systems v. Intel Corp. (2010) 184 Cal.App.4th
 17        210, 218 (disproved on other grounds by Kwikset Corp. v. Superior Court (2011) 51 Cal.4th 310)
 18        (stating that "the source code for many ifnot most commercial software products is a secret, and
 19        may remain so despite widespread distribution of the executable program"); See Agency
 20        Solutions.Com, LLC v. TriZetto Group, Inc. 819 F.Supp.2d 1001, 1017 (E.D. Cal. 2011) (opining
 21        that "source code is undoubtedly atrade secret" under California law),
 22
                                    i-    FITSPOT's Confidential Information has IndependentEconomic Value
 23
                  The requirement that confidential information have independent economic value to qualify
 24        as a trade secret has been interpreted to mean that the secrecy of this information provides a
25
          "substantial business advantage." Morlife, Inc. v. Perry 56 Cal.App.4th 1514,1522 (holding that
 26       aconfidential list of customers has such value because its disclosure would allow acompetitor to
 27       solicit more selectively and more effectively). California courts have routinely provided trade secret
28                                                          8
          PL^TIFF FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
            ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION; MEMORANDUM OF
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      1    protectionto customer lists. See, e.g., Courtesy Temp. Service, Inc. v. Camacho 22 Cal.App.3d 1278,
  2        1288 (customer list protected as atrade secret where it resulted from asubstantial amount oftime,
  3        expense and effort" and where the "nature and character ofthe subject customer information is
  4        sophisticated information and irrefutable ofcommercial value and not readily ascertainable to other
  5        competitors); See also Greenly v. Cooper (1978) 77 Cal. App.3d 382 392 ("[A] list ofsubscribers
  6        ofaservice, built up ingenuity, time, labor and expense ofthe owner over aperiod of many years
  7        is property ofthe employer, apart ofthe good will ofhis business and, in some instances, his entire
  8        business.") (emphasis added).
  9               Moreover, trade secret protection does not require that the information be unknown to the
 10        general public. Rather, protection is available for information that has not yet been ascertained by
 11        others in the industry (i.e., those to whom the information would be ofeconomic benefit). ABBA
 12        Rubber Co. v. Seaquist{\99\) 235 Cal.3d 1,21.
 13               In this case. Defendant had and continues to have access tothe Company's confidential and
 14        proprietary information including, but not limited to: (i) customer information, (ii) source code, and
 15        (iii) access credentials to the source code repositories. As is clear imder the Agreement, and apparent
 16        from the facts and circumstances of BIER's engagement with the Company, the foregoing
 17        categories of information unequivocally belong to the Company. By signing the Confidentiality
 18        Agreement, Defendant ahready acknowledged that such information is Plaintiffs property. The
 19        urgency of the instant matter is compounded by the fact that Defendant's possession of this
 20        information is to the exclusion of the Company.
 21               Identifying and gathering customers in the Company's target market (i.e., individuals
 22        interested in on-demand, private fitness sessions) has cost substantial time and money, and, as
 23        evidenced in the plain language ofthe Confidentiality Agreement, Fitspot treats this information as
 24       highly confidential. (Sec. 1, Sub. (a), ofExh. Bto Cohn Decl. f 7) (the Confidentiality Agreement
 25       designating and defining "Confidential Information") Personal contact information ofcustomers is
 26       important for maintaining long-term customer relationships, which translates into repeat sales for
 27       Fitspot. The customer data in Defendant's possession and under Defendant's exclusive control
28                                                          9
          PLAINTIFF FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
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      1    contains specific information about acustomer's health and fitness goals, (Cohn Decl. Tf 10) This
  2        information would be ofgreat value to acompeting fitness application.
  3
                                       FITSPOT Took Reasonable Steps to Maintain the Secrecy of its
  4                                    Information

  5
                  The requirement that the owner have taken reasonable steps to protect the information from

  6
           disclosure may be satisfied, for example, by proofthat the employer stored the information securely,
  7
           restricted access to the information, and used confidentiality provisions in employment contracts or
  8
           handbooks that obligated employees not to use or disclose the information. Whyte v. Schlage Lock
  9
           Co. (2002) 101 Cal.App.4th 1443,1454 (requiring employees to sign confidentiality agreements is
 10
           areasonable step to ensure secrecy); ReadyLink Healthcare v. Cotton (2005) 126 Cal.App.4th 1006,

 11
           1018 (employer took reasonable steps to ensure the secrecy of its trade secret information by
 12
           requesting employees to sign nondisclosure agreements).

 13
                 Here, Defendant entered into the Confidentiality Agreement as a condition ofcommencing
 14
           his engagement with Fitspot. The Confidentiality Agreement delineates the very information that
 15
           Plaintiff is attempting to have returned through the instant motion. (Sec. 1, Sub. (a), ofExh. B, to
 16
           Cohn Decl.) ("[C]ustomers, files, keys, certificates, passwords and other computer
 17
           mformatioii...") (emphasis added).
                              2.    Breach of Written Contract
 18

 19
                  As described above, Defendant entered into a binding written contract with FITSPOT to

 20
           maintain the secrecy of FITSPOT's confidential and proprietary information and return all
 21
           proprietary and confidential (tangible and intangible) information and property to FITSPOT.
 22
           Moreover, in exchange for an equity stake in the Company {See Exh. Ato Cohn Decl.), Defendant
 23
           expressly agreed that all information "concerning the Company's business, technology, business
 24
          relationships or financial affairs... is and will be the exclusive property ofthe Company." (See Sec.
 25
          1, sub. (a), Exh. Bto Cohn Decl. If 7) Defendant fiirther agreed that "all work performed by [him]
 26
          would be on 'work for hire' basis." {Id. atSec. 2, sub. (a))

 27

 28                                                        10
          PLAINTIFF FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
            ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION; MEMORANDUM OF
                                   POINTS AND AUTHORITIES IN SUPPORTTHEREOF
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     1          Importantly, Defendant further agreed to "fully cooperate with the Company, both during
  2      and after [his] Service Relationship with the Company, with respect to the procurement,
  3      maintenance and enforcement of Intellectual Property Rights in Company-Related Developments."
  4      {Id. at Sec. 3) Plaintiff has performed all of its obligations under the RU Agreement and the
  5      Confidentiality Agreement. The separation, for example, did not divest Defendant of his vested
  6      equity stake in the Company. Accordingly, Defendant has unjustifiably and inexcusably breached
  7      his obligations under the contracts, and therefore, an injunction is warrant and necessary.
  8                          3.    Conversion

  9              A claim for conversion arises when one person wrongfully exercises dominion over the
 10      property ofanother. See Fremont Indent. Co. v. Fremont Gen. Corp. (2007) 148 Cal.App.4th 97,
 11      119. The property can be tangible items or intangible items such as money. Fischer v. Machado
 12      (1996) 50 Cal.App.4th 1069,1072.
 13          Although Defendant has now returned some ofPlaintiffstangible property (i.e., the Company-
 14      issued laptop and accessories), Defendant admittedly wiped the Company's data by restoring the
 15      laptop to its original factory settings. Indeed, Defendant even admits that he preserved acopy
 16      ofthe data on a separate hard drive in his exclusive control. (Exh. Ato Pessah Decl. is a true
 17      and correct copy of a correspondence from Defendant's counsel) Defendant still has not returned a
 18      computer charger, $300 parking pass and a still active FITSPOT credit card.
 19             Furthermore, Defendant has not returned any ofPlaintiffs intangible property. For example,
 20      the data wiped from the Company's laptop and copied onto an external hard drive, the source code
 21      that the Fitspot application relies on to function, and the customer data housed on the Heroku and
 22      Github accounts. Based on this evidence, Plaintiff is likely to prevail on its conversion claim.
 23                         4.    Breach of Fiduciarv Dutv

 24             Defendant's relationship as a shareholder and his title of "Technical Co-Founder,"
 25      unquestionably establish the fact ofhis fiduciary obligations to the Company. Defendant's fiduciary
 26      obligation and duty of loyalty to the Company is further manifested in the unambiguous terms of
 27      the Agreements he entered into with Plaintiff. Defendant's inexcusable refusal to return the
28                                                        11
                  FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
          ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION; MEMORANDUM OF
                                  POINTS AND AUTHORITIES IN SUPPORT THF.RF.OF
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      1    Company's sensitive intangible data and tangible property, is a blatant breach of his fiduciary
  2       obligations to Plaintiff.

  3                  C.    Balance of Hardships

  4              Here, the balance of hardships strongly militate in favor of issuing atemporary restraining
  5       order. As a result of Defendant's complete and utter disregard of the Confidentiality Agreement,
  6       and his fiduciary duties to Fitspot, Plaintiffsbusiness has been thrust into acomplete state ofchaos.
  7       Ifan injunction is not issued, Defendant will likely continue to withhold PlaintifPs valuable trade
  8       secrets and intellectual property, and be able to disseminate the same with impunity. Issuing the
  9       injunction will merely require Defendant to return Plaintiffs tangible and intangible property,
 10       including passwords and access credentials to the source code repositories that power PlaintifPs
 11       business. Such property never belonged to Defendant to begin with, and returning it to its rightful
 12       owner will not harm Defendant inthe slightest. Conversely, Defendant's continued exclusive access
 13       to the property in question will utterly destroy Plaintiff's ability to conduct business, expose Plaintiff
 14       to third party liability fi-om its customers, and cause Fitspot aslow and painful demise.
 15
                    D-    FITSPOT Will Suffer Irreparable Iniurv if Defendant RTF.R Does Not
 16                       Return Company Property and Data Immediatelv

 17
                 In this case. Defendant has changed the passwords needed to access the code

 18
          repositories that house the code upon which the Fitspot application relies to function, denying
 19
          Plaintiff, its officers and agents access to the same. Thus, Plaintiff is unable to control the

 20
          application, including but not limited to: (1) repairing "bugs" and "glitches" that are causing the
 21
          application to fail; and (2) accessing itscustomer data.

 22
                 IfBIER does not return FITSPOT's intangible and tangible property, including but not
 23
          limited to, the code and the access credentials to Heroku and Github, over which he has exclusive
 24
          control. Plaintiffwill suffer irreparable harm to its reputation and goodwill.
 25
                  Since being prevented from accessing to the code repositories (starting August 5, 2015),
26
          Plaintiffhas been flooded with emails, texts, and phone calls from clients and fitness professionals
 27
          who are encountering a non-functioning and increasingly useless Fitspot application. Normally,
28                                                          12
                  fitspot ventures, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
           ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION; MEMORANDUM OF
                                      POINTS AND AUTHORITIES IN SUPPORT THEREOF
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      1    Plaintiffcoxild immediately (within 2hours) repair any glitches or issues stemming from the source
      2    code. Now, due to Defendant's actions, Plaintiffhas no access to the code repositories and is losing
      3   customers and goodwill every minute. Plaintiff cannot control the App's function, or know how
     4    many customers are attempting to book sessions. The following is anon-exhaustive list ofjust some
     5    ofthe issues that FITSPOT's customers and trainers are encountering:
     6              • fitness professionals are imable to confirm requests coming in from clients, paiiging
     7                  the both the client and trainer to believe the application isslow, unreliable and awaste
  8                     of time;

  9                 • the fee to be paid to the fitness professional appears incorrectly, causing trainers to
 10                     reject requests coming in from clients because itis not worth their time;
 11                 • fitness professional are locked out of the application and are unable to login
 12                     altogether;
 13                 • client s cancellations are not being received by the fitness professional, ranging the
 14                   fitness professional to erroneously appear at atraining session that does not exist;
 15                 • clients are being confirmed for training sessions in error, causing the client to be
 16                     charged in error.
 17       //

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           oSJ
             ER, AND (2) AN ORDER TO SHOW CASE RE:application
                                                   PRELIMINARYFOR: (1) ATEMPORARY
                                                                INJUNCTION;       RESTRAINING
                                                                            MEMORANDUM  OF
                                   POINTS AND AUTHORITIES IN SUPPORT THEREOF
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              Plaintiffs main appeal - quick and reliable on-demand fitness - is now moot. Every minute
      that passes without Plaintiff having access to the digital platforms that house its source code, is
      damage to its goodwill and reputation. Plaintiff has been forced to forgo more advanced customer
      service options and communicate with its customers via text messages. Plaintiffhas already received
      anumber of complaints from clients and trainers, and below are just afew examples:
       Trainer not being able to                                      Trainer arriving at a location           Customer unable to pay for
       login to his account to view                                  without being made aware ofa              package oftraining sessions,
       and book sessions.                                            customer cancellation.


          ATiT •9-         9;10 PM            f   62% a      •

                                                   t taiiS       •••• . ATITM-CM •»

                                                                 <     1 ' ' ' mlbemlnerals®gmall.com       < Tl-.rsna

                                                                                                            From: Catherine Just
                                                                     That's not cool
            I've deleted It, downloaded it,
           still can't
                                                                                                            Re: FItspot Session
                                                                                                            August 11, 2015 at 7:32 PM

           tollandweems Is password                                                                         Hi Sannmy!
                                                                     I should have been alerted
                                                                                                            Thank you.

                                                                                                            Iactually tried to sign up for a package and
                                                                                                            entered all of my payment info and then the
           I swear I still can't log In                                                                     app shut off and took me right to the front
                                                                                                            screen of my phone.
                                                                     I confirm immediately
                                                                     I didn't receive anything back         i tried just doing one session and the same
                                                                     from them                              thing happened.

                                                                                                            Seems the app doesn't work on my phone.
                                                                     Regarding canceling                    Not sure how to fix it77




                                                   o             ^                                      o


     (Courtright Decl. 5)
                     E.      Bond

            In light of the fact that it is FITSPOT's property at issue, and any injury to Defendant is
     highly unlikely, any required bond should be minimal, and in no case exceed $5,000.
    IV.      CQNCLTJSTON

            Plaintiff respectfully requests that the Court grant Plaintiffs ex parte application for a
     temporary restraining order and set ahearing for an order to show cause re: apreliminary injunction.



                                 VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
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      1   Dated; August 14,2015                Respectfully submitted,
      2
                                               PESSAH LAW GROUP, PC
      3

      4

                                                       V/'
      5                                        By:^
      6
                                                   Maurice ^Pessah, Esq.
                                                   Miche le ^haghian, Esq.
      7                                            Attomfcys for Plaintiff

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                 FITSPOT VENTURES, LLC'S EX PARTE APPLICATION FOR: (1) ATEMPORARY RESTRAINING
          ORDER; AND (2) AN ORDER TO SHOW CASE RE: PRELIMINARY INJUNCTION; MEMORANDUM OF
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